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11   MARY ANN BLANCO, ET AL
12
                                UNITED STATES DISTRICT COURT
13                                   DISTRICT OF NEVADA
14

15
     MARY ANN BLANCO, ET AL,                         CASE NO. 2:11-cv-00153-GMN-PAL
16
                           Plaintiffs,
17
                   vs.
18
     TRUMP RUFFIN TOWER I LLC                        PLAINTIFFS’ RESPONSE TO
19                                                   DEFENDANT TRUMP RUFFIN TOWER I
                            Defendant.
                                                     LLC’S NOTICE OF SUPPLEMENTAL
20
                                                     AUTHORITY
21

22
            Plaintiffs Mary Ann Blanco et al, by and through their attorneys, hereby respectfully
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     submit this response to Defendant Trump Ruffin Tower I LLC’s (“Defendant”) Notice of
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     Supplemental Authority (the “Notice”), stating as follows:
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            Contrary to Defendant’s representation that the decision in Spradlin v. Trump Ruffin
26

27   Tower LLC, Case No. 2:08-CV-01428-KJD-RJJ, 211 U.S. Dist. LEXIS 61235 (D. Nev. June 6,

28
     Case 2:11-cv-00153-GMN-PAL Document 26 Filed 06/29/11 Page 2 of 5



 1   2011) involved “the same primary legal issue” that is presented by Plaintiffs’ Motion to Vacate
 2 the Arbitration Award (the “Motion”) in this case (see Notice at 2), the issue in Spradlin was

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     completely different from the issue before this Court. While both the Spradlin motion to vacate
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     and Plaintiffs’ Motion require court scrutiny and review of an arbitration decision, neither case
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     involves any dispute as to the applicable standard of review. Indeed, the Spradlin court applied
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     the same standard of review to a motion to vacate an arbitration decision as that cited by the
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     parties in this case, namely, that an award should be vacated if the arbitrator exceeds the scope of
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 9   his authority by manifestly disregarding the law or issuing an order that is completely irrational.

10   See Spradlin, 211 U.S. Dist. LEXIS 61235, at *5; see also Trump’s Opp. to Motion to Vacate at

11 4:5-9; Plaintiffs’ Motion at 11:25-28. The Spradlin opinion did not cite any new authority,

12 contain any new analysis, or establish any new law regarding that standard. The Supreme

13 Court’s decision in Stolt-Nielsen S.A. v. AnimalFeeds Int’l Corp., 130 S. Ct. 1767 (2010) cited in

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     Spradlin merely restates the appropriate standard of review and does not change or expand that
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     standard from preexisting law. Thus, the “primary legal issue” in both Spradlin and Plaintiffs’
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     Motion is whether the respective arbitrators disregarded the particular law at issue in each case.
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            In contrast to the instant case, Spradlin involved an analysis of an arbitration decision
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19   concluding that class action arbitrations are not permissible in Nevada when the operative

20   arbitration clause is silent about that issue. In light of the Stolt-Nielsen decision and the absence

21   of a default rule allowing class action arbitrations under Nevada law, the arbitrator ruled that the

22   plaintiffs in Spradlin could not proceed with their class action arbitration. See Spradlin, 211
23   U.S. Dist. LEXIS 61235, at *7-9. Judge Dawson found not only that the arbitration decision was
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     Case 2:11-cv-00153-GMN-PAL Document 26 Filed 06/29/11 Page 3 of 5



 1   a matter of legal interpretation, but also that the arbitrator’s decision was a correct ruling of law.1
 2 See id. Therefore, it is not at all surprising that Judge Dawson denied the Spradlin plaintiffs’

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     motion to vacate, as there was no basis to find that the arbitrator did anything other than correctly
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     apply the law in that case.
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              Unlike the plaintiffs in Spradlin, however, Plaintiffs in this action did not file a class
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     action arbitration. Rather, this case is merely a consolidated action of individual claims.
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     Defendant has previously filed motions before the arbitrator in this action and the Nevada state
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 9 court arguing that Stolt-Nielsen applies to consolidated actions and therefore precludes this

10 action. However, because Stolt-Nielsen does not apply to such consolidated actions, both the

11 arbitrator and the Nevada state court rejected Defendant’s motions. Consistently, Judge Dawson

12 explained that “[n]owhere in Stolt-Nielsen is there any evidence for the proposition that state

13 default rules that allow for consolidation of arbitration under certain circumstances should be

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     interpreted to require class arbitration in agreements that do not mention class arbitration.”
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     Spradlin, 211 U.S. Dist. LEXIS 61235, at *7 n.1. In short, Stolt-Nielsen applies only to class
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     action arbitrations and has no relevance to consolidated arbitrations like the case before this
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     Court.
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     1 “Plaintiffs therefore claim that the Arbitrator erred in distinguishing class certification rules
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     from consolidation rules because such a ruling is contrary to Stolt-Nielsen. … Even if Plaintiffs
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     were correct on these points, … And they are not … it is clear to this Court that the Plaintiffs’
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     repeated claims that Stolt-Nielsen stands for the principle that the ‘state law ‘default rule’ for
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26   consolidation of arbitration claims’ should govern determinations about class arbitration are

27   completely incorrect.” Spradlin, 211 U.S. Dist. LEXIS 61235, at *7 n.1.

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 1          Moreover, the plaintiffs in Spradlin moved to vacate the arbitrator’s decision on a basis
 2   that is inapplicable under the established standard of review and is entirely different from that
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     alleged by Plaintiffs in this case. As the Spradlin opinion plainly states:
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                    Plaintiffs do not argue that the arbitrator was dispensing her own
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                    brand of industrial justice or making public policy, or that the
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                    arbitrator’s decision was completely irrational or completely
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                    disregarded the clear, applicable rules of law. Rather Plaintiffs
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 9                  argue that the arbitrator committed errors in her legal analysis.

10   Id. at *10-11. By contrast, Plaintiffs contend that the arbitrator in this case did, in fact, dispense

11   his own brand of industrial justice, made public policy, and issued a decision that was
12   “completely irrational.” See Plaintiffs’ Motion at 13:1-21.
13          Thus, the Spradlin decision does not provide this Court with any additional authority that
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     is relevant to Plaintiffs’ Motion. Defendant’s submission of the Spradlin decision as
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     supplemental authority is misplaced and should be rejected by this Court.
16

17          DATED: June 29, 2011

18
                                                        By: s/ Ben F. Easterlin IV ________________
19                                                          Ben F. Easterlin IV
                                                            KING & SPALDING LLP
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                                                             Attorneys for Plaintiffs
23                                                           Mary Ann Blanco, et al
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     Case 2:11-cv-00153-GMN-PAL Document 26 Filed 06/29/11 Page 5 of 5



 1                                    CERTIFICATE OF SERVICE
 2
            I hereby certify that on June 29, 2011, I electronically transmitted the foregoing
 3

 4   PLAINTIFFS’ RESPONSE TO DEFENDANT TRUMP RUFFIN TOWER I LLC’S

 5   NOTICE OF SUPPLEMENTAL AUTHORITY to the Clerk’s Office using the CM/ECF

 6   system for filing and transmittal of a Notice of Electronic Filing to all counsel in this matter; all

 7   counsel being registered to receive Electronic Filing.
 8

 9                                                     s/ Ben F. Easterlin
                                                       Ben F. Easterlin
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